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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-175 (TJK)
                                              :
ETHAN NORDEAN, et al.                         :
                                              :
                       Defendants.            :

         JOINT STATUS REPORT WITH PROPOSED PRETRIAL SCHEDULE

       In accordance with the Court’s Order of June 24, 2022 (ECF 419), the government and

defendants submit this joint status report and a proposed scheduling order that would allow trial to

commence with jury selection on December 12, 2022. The government and defendants are in

agreement as to all dates set forth in the proposed scheduling order with the exception of the

following items:

   •   Paragraph 1 (Motions to Dismiss).

           o The government and Defendants Biggs, Rehl, Tarrio and Pezzola propose that

               a hearing on any additional motions to dismiss be held during the month of

               September 2022. The aforementioned parties propose that any motions to dismiss

               be filed on August 19; oppositions due September 2; and replies due September 9,

               which would allow for a motions hearing to be held at the end of September 2022.

               The government and aforementioned defendants assert that the proposed schedule

               sets an orderly process by which the Court may receive, consider, and address the

               numerous pre-trial motions that are anticipated in this case.

           o Defendants Nordean proposes that any motions to dismiss be filed on October 14;

               oppositions due October 28; and replies due November 4. Defendant Nordean

               proposes a hearing on the motions to dismiss to coincide with the pre-trial

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               conference on November 18, 2022. Nordean asserts that “by creating staggered

               deadlines for different pretrial motions, the government is attempting to manipulate

               the Speedy Trial Act clock. 1 Nordean has proposed a reasonable deadline for all

               pretrial motions of October 14. To the extent the court sets an earlier deadline for

               any pretrial motion, Nordean opposes on due process, Sixth Amendment and

               Speedy Trial Act grounds.”

    •   Paragraphs 14 – 15 (Impeachment Materials and Witness Statements)

           o The parties have agreed to set the deadline to produce impeachment materials 14

               days before the start of trial with the understanding that the parties will continue to

               discuss whether one additional week (i.e., 21 days) or more is necessary.

        The proposed scheduling order submitted herewith has been prepared based on a jury

selection and trial date of December 12, 2022. Were the jury selection and trial date to be continued

to January 3, 2023, which (as described below) is the preference of some of the parties, the parties

would propose a corresponding adjustment to the proposed filing dates.

        Specifically, the government and defendants Biggs, Rehl, Tarrio, and Pezzola would

propose to begin the trial on January 3, 2023, rather than attempt to seat a jury to work continuously

through the December holiday season. However, such a start date is not currently possible for

Defendant Rehl’s counsel, Ms. Hernandez, who has a trial scheduled to begin on February 1, 2023,

before the Honorable Amit P. Mehta. U.S. v. Donovan Crowl, 21-cr-28 (APM). Absent that

constraint, the government and defendants Biggs, Rehl, Tarrio, and Pezzola would consent to

starting this trial on January 3, 2023, scheduling the pretrial conference for December 12, 2022,



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  The government disputes this allegation. The staggered schedule is not an “attempt[] to
manipulate the Speedy Trial Clock” but rather an effort to ensure that each litigated issue can
receive the full attention of the parties and the Court.
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and making corresponding adjustments to the other filing deadlines proposed. Defendant Nordean

opposes any further delay beyond December 12, 2022, and Defendant Nordean opposes any

adjustment to the pretrial schedule that he has proposed.

       To the extent that the parties failed to address any relevant deadlines or dates to the Court’s

satisfaction, the parties would appreciate the opportunity to receive the Court’s guidance and for

the government and defendants to work together to present a joint proposal to address any issues

identified by the Court.


                                                      Respectfully submitted,


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